           Case 22-60043 Document                        Filed in TXSB on 05/28/22 Page 1 of 4



                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     VICTORIA DIVISION

IN RE:                                               §
 INFOW, LLC et al.                                   §        CASE NO. 22-60020
                                                     §
                                                     §        CHAPTER 11 (Subchapter V)
                                                     §        Jointly Administered
DEBTORS.1                                            §


                NOTICE OF CONTINUED FIRST MEETING OF CREDITORS

        YOUR ARE HEREBY NOTIFIED that the meeting of creditors scheduled for May 26, 2022

has been continued to June 2, 2022, at 10:00 a.m. Any party wishing to participate may call 866-

707-5468, then enter the Participant Code 6166997 followed by the pound or hashtag symbol - #.

No other deadlines or provisions described in the Official Form 309 Notice of Chapter 11

Bankruptcy Case are changed by this notice are changed by this notice, and all such deadlines and

provisions remain in full effect except as may be otherwise ordered by the Court.

Dated: May 26, 2022                                  KEVIN M. EPSTEIN
                                                     United States Trustee Region 7
                                                     Southern and Western Districts of Texas

                                                     By:      /s/ Jayson B. Ruff
                                                              Jayson B. Ruff
                                                              Trial Attorney
                                                              MI State Bar No. P69893
                                                              Office of the United States Trustee
                                                              515 Rusk Avenue, Suite 3516
                                                              Houston, TX 77002
                                                              (713) 718-4650 Ext. 252
                                                              (713) 718-4670 Fax
                                                              Jayson.B.Ruff@usdoj.gov




1 The Debtors in these chapter 11 cases along with the last four digits of each Debtor’s federal tax identification
number are as follows: InfoW, LLC, f/k/a Infowars, LLC (6916), IWHealth, LLC f/k/a Infowars Health, LLC (no
EIN), Prison Planet TV, LLC (0005). The address for service to the Debtors is PO Box 1819, Houston, TX 77251-
1819.
                         Case 22-60043 Document                           Filed in TXSB on 05/28/22 Page 2 of 4
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                                 Case No. 22-60020-cml
InfoW, LLC                                                                                                             Chapter 11
IWHealth, LLC
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 0541-6                                                  User: ADIuser                                                               Page 1 of 3
Date Rcvd: May 26, 2022                                               Form ID: pdf001                                                           Total Noticed: 35
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 28, 2022:
Recip ID                 Recipient Name and Address
db                     + IWHealth, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + InfoW, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
db                     + Prison Planet TV, LLC, 5606 N. Navarro, Ste. 300-W, Victoria, TX 77904-1770
aty                      Kyung Shik Lee, Kyung S. Lee PLLC, Pennzoil Place-Suite 1300, HOUSTON, TX 77002, UNITED STATES
cr                     + David Wheeler, et al., c/o Cain & Skarnulis PLLC, 303 Colorado Street, Suite 2850, Austin, TX 78701-4653
intp                   + Insert Company Name, LLC, 1334 Brittmoore Rd, Ste 1327, Houston, TX 77043-4035
intp                   + Ray W. Battaglia, Law Offices of Ray Battaglia, PLLC, 66 Granburg Circle, San Antonio, TX 78218-3010
intp                   + Shelby A Jordan, Jordan & Ortiz PC, 500 N Shoreline Blvd, Ste 900, Corpus Christi, TX 78401-0658
12055641               + Alex E. Jones, c/o Jordan & Ortiz, P.C., Attn: Shelby Jordan, 500 North Shoreline Blvd, STE 900, Corpus Christi, TX 78401-0658
12055642               + Brennan Gilmore, c/o Civil Rights Clinic, ATTN: Andrew Mendrala, 600 New Jersey Avenue, NW, Washington, DC 20001-2022
12055643               + Carlee Soto-Parisi, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055644               + Carlos Soto, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055645               + Christopher Sadowski, c/o Copycat Legal PLLC, 3111 N. University Drive Ste. 301, Coral Springs, FL 33065-5058
12055646               + Dona Soto, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055647               + Erica Lafferty, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055648               + Francine Wheeler, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055649               + Free Speech Systems, LLC, c/o Law Office of Raymond W. Battaglia, 66 Granburg Circle, San Antonio, TX 78218-3010
12055650               + Ian Hockley, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055651               + Jacqueline Barden, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055652               + Jennifer Hensel, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055653               + Jeremy Richman, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055654               + Jillian Soto, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055666               + Larry Klayman, Esq., 7050 W. Palmetto Park Rd, Boca Raton, FL 33433-3426
12055655               + Leonard Pozner, c/o Kaster Lynch Farrar & Ball LLP, 1117 Herkimer, Houston, TX 77008-6745
12055656               + Marcel Fontaine, c/o Kaster, Lynch, Farrar & Ball LLP, 1117 Herkimer, Houston, TX 77008-6745
12055657               + Mark Barden, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055658               + Neil Heslin, c/o Kaster Lynch Farrar & Ball LLP, 1117 Herkimer, Houston, TX 77008-6745
12055659               + Nicole Hockley, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055660               + PQPR Holdings Limited, LLC, c/o Eric Taub, Waller, 100 Congress Ave STE 1800, Austin, TX 78701-4042
12055667               + Randazza Legal Group, 2764 Lake Sahara Dr STE 109, Las Vegas, NV 89117-3400
12055661               + Robert Parker, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055662               + Scarlett Lewis, c/o Kaster Lynch Farrar & Ball, LLP, 1117 Herkimer Street, Houston, TX 77008-6745
12055663               + Veronique De La Rosa, c/o Kaster Lynch Farrar & Ball LLP, 1117 Herkimer, Houston, TX 77008-6745
12055665               + William Aldenberg, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014
12055664               + William Sherlach, c/o Koskoff Koskoff & Bieder, 350 Fairfield Ave, Bridgeport, CT 06604-6014

TOTAL: 35

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
                        Case 22-60043 Document                          Filed in TXSB on 05/28/22 Page 3 of 4
District/off: 0541-6                                               User: ADIuser                                                          Page 2 of 3
Date Rcvd: May 26, 2022                                            Form ID: pdf001                                                      Total Noticed: 35
cr                               Neil Heslin, et al.
intp                             Nina Khalatova
op                               W. Marc Schwartz

TOTAL: 3 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                       NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 28, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 26, 2022 at the address(es) listed below:
Name                             Email Address
Avi Moshenberg
                                 on behalf of Creditor Neil Heslin et al. avi.moshenberg@mhllp.com, ana.sanchez@mhllp.com

Clifford Hugh Walston
                                 on behalf of Creditor Neil Heslin et al. cliff@wbctrial.com, rose@wbctrial.com;brittany@wbctrial.com

Ha Minh Nguyen
                                 on behalf of U.S. Trustee US Trustee ha.nguyen@usdoj.gov

Jayson B. Ruff
                                 on behalf of U.S. Trustee US Trustee jayson.b.ruff@usdoj.gov

Jon Maxwell Beatty
                                 on behalf of Creditor Neil Heslin et al. max@beattypc.com,
                                 1652348420@filings.docketbird.com,7671921420@filings.docketbird.com

Kyung Shik Lee
                                 on behalf of Debtor Prison Planet TV LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                                 on behalf of Debtor InfoW LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                                 on behalf of Debtor IWHealth LLC kslee50@gmail.com, Courtnotices@kasowitz.com

Kyung Shik Lee
                                 on behalf of Attorney Kyung Shik Lee kslee50@gmail.com Courtnotices@kasowitz.com

Melissa A Haselden
                                 mhaselden@haseldenfarrow.com
                                 haseldenbankruptcytrustee@gmail.com;mhaselden@ecf.axosfs.com;haselden.melissaa.r104367@notify.bestcase.com

Michael P Ridulfo
                                 on behalf of Other Prof. W. Marc Schwartz mridulfo@krcl.com rcoles@krcl.com

R. J. Shannon
                                 on behalf of Debtor IWHealth LLC rshannon@parkinslee.com,
                                 rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                                 on behalf of Debtor InfoW LLC rshannon@parkinslee.com,
                                 rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

R. J. Shannon
                                 on behalf of Debtor Prison Planet TV LLC rshannon@parkinslee.com,
                                 rjshanno@icloud.com;arobles@parkinslee.com;arodriguez@parkinslee.com;5460230420@filings.docketbird.com

Randy W Williams
                      Case 22-60043 Document                      Filed in TXSB on 05/28/22 Page 4 of 4
District/off: 0541-6                                          User: ADIuser                                                     Page 3 of 3
Date Rcvd: May 26, 2022                                       Form ID: pdf001                                                 Total Noticed: 35
                            on behalf of Creditor David Wheeler et al. rww@bymanlaw.com, rww.trustee1@gmail.com;Bymanassociatespllc@jubileebk.net

Raymond William Battaglia
                            on behalf of Interested Party Ray W. Battaglia rbattaglialaw@outlook.com rwbresolve@gmail.com

Ryan E Chapple
                            on behalf of Creditor David Wheeler et al. rchapple@cstrial.com, aprentice@cstrial.com

Shelby A Jordan
                            on behalf of Interested Party Shelby A Jordan cmadden@jhwclaw.com

US Trustee
                            USTPRegion07.HU.ECF@USDOJ.GOV


TOTAL: 19
